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AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District of Minnesota


Blu Dot Design & Manufacturing, Inc.,

                                                     Plaintiff,

v.                                                                           Case No. 0:16−cv−03378−SRN−BRT

Gold Leaf Holding Ltd.,

                                                     Defendant.




                                                    SUMMONS IN A CIVIL ACTION

To: Gold Leaf Holding Ltd. doing business as Rove Concepts, a Canadian corporation


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Lora Mitchell Friedemann
                                     200 S 6th St Ste 4000
                                     Mpls, MN
                                     55402−1425

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

RICHARD D. SLETTEN, CLERK OF                                      By:
COURT




                                                                        Kim Krulas


Date of Issuance: October 6, 2016
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                                                Summons and Complaint Return of Service
                                                                        Case No. 0:16−cv−03378−SRN−BRT



A copy of the Summons and Complaint has been served in the manner indicated below:

                                                     Gold Leaf Holding Ltd. doing business as Rove Concepts, a Canadian
Name of Defendant Served:                            corporation

Date of Service:



                                                             Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $          Total $



                                                           Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
